Case 21-70021-JAD                   Doc        Filed 05/31/23 Entered 05/31/23 18:29:54                                   Desc Main
                                               Document      Page 1 of 6
     Fill in this information to identify the case:

     Debtor 1 DANIEL D MILLER fdba Wood-Fired Catering, LLC
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the: Western District of Pennsylvania
     Case number 21-70021-JAD




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                       12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                 Court claim no. (if known): 8

  Last four digits of any number you           4879                             Date of payment change:                     05/01/2023
  use to identify the debtor’s account:                                         Must be at least 21 days after date of
                                                                                this notice

                                                                                New total payment:                         $924.78
                                                                                Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
    Will there be a change in the debtor’s escrow account payment?
            No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

           Current escrow payment: $                              New escrow payment:            $
  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate: 3.25 %                       New interest rate: 4.25%

               Current principal and interest payment: $ 472.59 New principal and interest payment: $ 525.06

               Because the interest rate adjustment under the terms of the loan documents, or escrow adjustment, was not noticed in this
               Court at least 21 days before a payment in the new amount is due, in the event this Notice of Payment Change (“PCN”)
               reflects an increase in the total new payment amount, the Debtor will not be responsible for the increased payment amount
               until the first payment due date that is at least 21 days from the date this PCN is filed and served. The Debtor’s account will
               be credited for the difference between the current total payment amount and any increased total payment amount reflected in
               this PCN that accrued prior to the first payment due date that is at least 21 days from the date this PCN is filed and served. In
               the event this PCN reflects a decrease in the total new payment amount, the payment change will be effective as of the date
               reflected in this PCN. This does not constitute a modification of the payment obligations under the terms of the promissory
               note, mortgage, or other loan documents.
  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.
              Reason for change:


               Current mortgage payment: $                        New mortgage payment: $

Official Form 410S1                           Notice of Mortgage Payment Change                                                 page 1
Case 21-70021-JAD                       Doc       Filed 05/31/23 Entered 05/31/23 18:29:54                    Desc Main
                                                  Document      Page 2 of 6

   Debtor1   DANIEL D MILLER fdba Wood-Fired Catering, LLC           Case number (if known) 21-70021-JAD
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Mario Hanyon
       Signature
                                                                                    Date 05/31/2023



   Print: Mario Hanyon (203993)
         First Name           Middle Name           Last Name                       Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                       Email PABKR@brockandscott.com




Official Form 410S1                               Notice of Mortgage Payment Change                                 page 2
Case 21-70021-JAD               Doc       Filed 05/31/23 Entered 05/31/23 18:29:54                        Desc Main
                                          Document      Page 3 of 6
                                 IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                              Johnstown Division


 IN RE:
 DANIEL D MILLER fdba Wood-Fired Catering, LLC                       Case No. 21-70021-JAD
                                                                     Chapter 13
 Freedom Mortgage Corporation,
          Movant
                                                                        Hearing Date: TBD

                                                                        Hearing Time: TBD

                                                                        Objection Date: TBD

 vs.

 DANIEL D MILLER fdba Wood-Fired Catering, LLC ,
         Debtor
 and

 Ronda J Winnecour
         Respondent




                CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

        I certify under penalty of perjury that on this day, I served or caused to be served the Notice of Mortgage Payment
Change on the parties at the addresses shown below or on the attached list.

         The type(s) of service made on the parties (first-class mail, electronic notification, hand delivery, or another type of
service) was:

Via CM/ECF electronic notice:

 Kenneth P Seitz, Esq.                                           Ronda J Winnecour
 P.O. Box 211                                                    Suite 3250, USX Tower
 Ligonier, PA 15658                                              600 Grant Street
 Counsel for Debtor                                              Pittsburgh, PA 15219
                                                                 Chapter 13 Trustee

 Office of the United States Trustee
 Liberty Center.
 1001 Liberty Avenue, Suite 970
 Pittsburgh, PA 15222
 US Trustee

Via First Class Mail:

 DANIEL D MILLER
 2027 KRING ST
 JOHNSTOWN, PA 15905
 Debtor
Case 21-70021-JAD               Doc       Filed 05/31/23 Entered 05/31/23 18:29:54                       Desc Main
                                          Document      Page 4 of 6
         If more than one method of service was employed, this certificate of service groups the parties by the type of service.
For example, names and addresses of parties served by electronic notice will be listed under the heading “Via CM/ECF
electronic notice” and those served by mail will be listed under the heading “Via First Class Mail”.

EXECUTED ON: May 31, 2023
                                                       /s/Mario Hanyon
                                                       Andrew Spivack, PA Bar No. 84439
                                                       Matt Fissel, PA Bar No. 314567
                                                       Mario Hanyon, PA Bar No. 203993
                                                       Ryan Starks, PA Bar No. 330002
                                                       Jay Jones, PA Bar No. 86657
                                                       Attorney for Creditor
                                                       BROCK & SCOTT, PLLC
                                                       3825 Forrestgate Drive
                                                       Winston Salem, NC 27103
                                                       Telephone: (844) 856-6646
                                                       Facsimile: (704) 369-0760
                                                       E-Mail: PABKR@brockandscott.com

PAWB Local Form 7 (07/13)
Case 21-70021-JAD   Doc   Filed 05/31/23 Entered 05/31/23 18:29:54   Desc Main
                          Document      Page 5 of 6
Case 21-70021-JAD   Doc   Filed 05/31/23 Entered 05/31/23 18:29:54   Desc Main
                          Document      Page 6 of 6
